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        10
            Attorneys for Plaintiff,
  ~     11~ LILLIAN BOONE
        12
 ~•%     3
dCOc,                                  SUPERIOR COURT OF THE STATE OF CAUFORNIA
~14
                                                   FOR THE COUNTY OF LOS ANGELES
~g 15


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        18
                   ULL1AN BOONE, an individual,
                                                                               BC 6 6 5 8 6 3
                                                                CASE NO.:
                                           Plaintiff,           COMPLAiNT FOR DAMAGES:
                          V.                                    1. NEGLIGENCE
                  WAL-MART STORES, INC., a                      DEMAND FOR JURY TRIAL
                  Delaware Corporation; and DOES I
                  through 50, Inclusive,
                                                                             Complaint Filed~
                                           Defendants.                          Assigned to
                                                                                -Depaifrnenf
                                                                                    TdeJ Date:


                          COMES NOW Plaintiff LILLIAN BOONE, and complains against Defendants
                 WAL-MART STORES, INC., a Delaware Corporation; and DOES I through 50, and
                 each of them, as follows:
                 II!

                 _______________________________                I
                                        COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRiAL



                                                                                                                  Exhibit 1
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                   a




            I                                        COMMON ALLEGATlON~
           2                1.     PlaIntiff LILLIAN BOONE CPlaintiff”) is now, ‘and at all relevant times was,
           3       an aduTt residing In the City of Lancaster, County of Los Angeles, State of California.
           4                2.    Based upon information and belief, Defendant WAL-MART STORES, INC.
           5      (‘WAL-MART~ Is now, and at all relevant times was, a Delaware Corporation
           6      conducting business In the County of Los Angeles, State of California. At all times
           7      relevant herein, Defendant WALMART owned, leased, occupied, controlled,
          8       possessed, supervised, inspected, leased, maintained, andlcr managed the WalMart
                  store located at 44865 Valley Central Way, Lancaster, CA 93536 CWAL-MART
       10         STORES).
      11                3.      The true names, Identities, or capacities, whether individual, associate,
      12          corporate, or otheiwise, of Defendants DOES I through 50, InclusIve, and each DOE,
      13         are unknown to Plaintiff at this time. Plaintiff therefore sues said Defendants by such
      14         fictitious names. When the true names, Identities, capacities, andlor participation of
      15         such fictItiously designated Defendants are ascertained, Plaintiff will seek leave of the
      18         Court to amend the Complaint to insert said names, identities, and capacities, together
h     17         with the proper cherping allegations. Plaintiff is Informed and believes, and thereon
      18         alleges, that each of (he Defendants sued herein as a DOE is responsible In some
      19         manner for the events and happenings herein refened to, thereby legally causing the
     20          damages to Plaintiff set forth herein.
     21               4.   At all relevant times mentioned herein, Defendants DOES I through 5
     22         were employees and!or agents of Defendant WAL-MART. Plaintiff is informed and
     23         believes, and thereon alleges, that Defendants DOES I through 5 are now, and            at all
     24         relevant times were, adults residing In the County of Los Angeles, State of California.
     25                5.        At all times herein mentioned, each of the Defendants named herein,
     26         including each DOE Defendant, was the agent, servant, partner, and!or employee of the
     27         remaining Defendants, and was at all such times acting within the time, place, purpose
     28         and scope of said such agency. senilce, partnership andlor employment, unless
                _____________________                         2
                                     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL.


                                                                                                          Exhibit 1
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                I         otherwise stated. Each and evenj Defendant1 as aforesaid, when acting as a principal,
                2         was negligent In the selection and hiring of each and every other Defendant as ~
                3         agent. servant, and employee.
               4                 8~    Plaintiff is informed and believes that Defendants, and each of them, were
               5          at all times relevant, agents, servants, and employees of each other and, In doing the
               8          thIngs herein alleged, were acting within the scope arid authority of such agency and
               7          employment and were, in some way, negligently or otherwise, responsible for the
               B          events herein alleged.
               9                7.     On or about AprH 19; 2017, PlaIntiff went to the WAL-MART STORE to
           10         pick up a Huffy mountain bike, which she had purchased online from Defcndaht WAL
           11         MART’S webalte (“SUBJECT BIKE”; Huffy Item No.: 558140885). When Plaintiff arrived
     §     12         at the WAL-MART STORE, the SUBJECT BIKE was not yet assembled. Defendants
     ~     13         DOES I through 5, who were employees andlor agents of Defendant WAL-MART, then
d0)~
           14         agreed to assemble the SUBJECT BIKE and Instructed Plaintiff to return to the WAL
     ~j    15         MART STORE in approximately one hour to pick up the SUBJECT BIKE after It was

‘~   p     16
           17
                     assembled. Plaintiff subsequently returned to pick up the SUBJECT BIKE at the WAL
                     MART STORE after It had been assembled by Defendant WAL-MART andlor
          18         Defendants DOES I through 5, who were employees andlor agents of Defendant WAL
          19         MART.
          20                   8.     That same day, on or about April 19, 2017, PlaIntiff was riding the
          21         SUBJECT BIKE, which she had purchased from Defendant WALMART and which had
          22        been assembled by Defendants DOES 1 through 5, who were employees andlor agents
          23        of Defendant WAL-MART. Suddenly and unexpectedly, the SUBJECT BIKE collapsed
          24        at or near the handle bars, causing Plaintiff to crash, resulting In serious bodily harm to
          25        Plaintiff, including, but not lfrñited to, Injuries to her knee for which she has required and
          26        undergone surgery.
          27        lii
          28        III
                                                                  3
                                          COMPLAINT FOR DAMAGES~ DEMAND FOR JURY TRIAL


                                                                                                                Exhibit 1
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            I                                       cAl4~sEpp AcTioN
           2                                           NEGLIGENCE
           3                                   (As Against All Defendants)
           4            9.      PlaintIff hereby re-alleges and incorporates by reference each and every
           5      precedIng paragraph as though fully set forth herein.
           6            10.    At all relevant times mentioned herein, Defendants assembled, inspected,
           7     supplied, installed, distributed andlor sold the SUBJECT BIKE to Plaintiff and agreed to
           8     assemble and did assemble the SUBJECT BIKE ridden by Plaintiff on or about April 19,
           9     2017. In so doing, Defendants, and each of them, established a relationship with
       10        Plaintiff, gMng rise to each Defendant’s duty to Plaintiff to assemble the SUBJECT
       11        BIKE with that degree of ordinary care and skill required.
      12                11. Defendants and each of them owed a duty to Plaintiff to exercise ordinary
 ~    13         care and skill in assemôling the SUBJECT BIKE to avoid foreseeable harm to Plaintiff.
      14               12.     Defendants, and each of them, breached their duty of care to Plaintiff and
      15        failed to exercise ordinary care and skill in assembling the SUBJECT BIKE to avoid
      16        foreseeable harm to Plaintiff.
      17               13.    At all times herein mentioned, Defendants, and each of them, so
      18        negligently, recklessly, and carelessly assembled the SUBJECT BIKE as to create en
      19        unreasonable risk of harm to Plaintiff. As a direct and proximate result thereof, Plaintiff
      20        was caused to and did puffer serious bodily injury.
      21               14.    Defendants’ breach of their duty of care was a legal cause of, and
      22        substantial factor in causing, Plaintiff’s harm and damages in this case.
     23                15.    As a direct, proximate, and legal result of the negligent, careless, and
     24         unlawful conduct of Defendants, and by reason of said injuries caused by the same,
     25         Plaintiff has incurred medical and related expenses and In the future wal require further
     28         additIonal medical and related expenses.
     27               16.     As a direct, proximate, and legêl result of the negligent, careless, and
     28         unlawful conduct of I5efendants. and each of them, and by reason of said injuries
                                                           4
                                  COMPLAINT FOR DAMAGE6~ DEMAND FOR JURY TRIAL


                                                                                                       Exhibit 1
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            I    caused by the same, Plaintiff has experienced, and in the future will experience, pain
            2    and suffering. By mason of said injuries and consequences, Plaintiff has sustained
            3    general damages in a sum to be proven at the time of trial.
           4            17.    As a direct, proximate, and legal result of the negligent, careless, and
           5     unlawful conduct of Defendants, and by mason of said injuries caused by the same,
           6     PlaIntiff has sustained, and will sustain In the future, loss of earnings and loss of earning
           7    capacity.
           8                                      PRAYER FORREIJEF
           9           WHEREFORE, Plaintiff LILLIAN BOONE prays for judgment against Defendants,
       10       and each of them, as follows:
       Ii              1.     Far general damages, past and future, according to proof;
       12              2.     For medrcai expenses, past and future, according to proof;
 ~     13              3.     For lost earnings, past and future, according topmof~
uø~                                                                 .                   -

       14              4.     For loss of earning capacity according to proof~
~ ~   15               5.     For pre- and post-judgment Interest;
~ ~   16               6.     For costs of suit herein incurred; and
      17               7.     For such further and other relief as the Court deems just and proper.


      19        DATED: June ~ 2017                              ALDERLAW, PC


      21                                                  BY~~Z1
                                                                  Mami B. Follnsky Esq.
      23                                                          AttornaR. Domb,
                                                                  Alexis           ~sq.
                                                                            for Plaintiff,
      24                                                          LILUAIrBOONE
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                                  COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


                                                                                                         Exhibit 1
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            I                                   DEMAND FOR JURY TRIAL
            2             PlaintIff LILLIAN BOONE hereby demands, as a matter of right, trl& by july in this
            3   case on afl causes of action.
           4
                DATED: June~, 201?                               ALDERLAW~ PC


           7                                               By.
                                                                  /26D     A~Pi~=~            —~




           8               -
                                                                   Mami B.
                                                                   Alexis R. Folinsky,
                                                                             Domb, E8q.Esq.
                                                                   Attorneys for Plaintiff,
                                                                   LILLIAN BOONE
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                                   COMPLAINT FOR DAMAGE8; DEMAND FOR JURY TRIAL


                                                                                                       Exhibit 1
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